                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

IN RE:                                                )       3:09-CV-06 3:09-CV-09
                                                      )       3:09-CV-14 3:09-CV-48
                                                      )       3:09-CV-54 3:09-CV-64
                                                      )       3:09-CV-114 3:09-CV-491
                                                      )       3:09-CV-495 3:09-CV-496
                                                      )       3:09-CV-497 3:09-CV-504
TENNESSEE VALLEY AUTHORITY                            )       3:09-CV-511 3:09-CV-517
ASH SPILL CASES                                       )       3:09-CV-528 3:09-CV-529
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                                                      )
                                                      )       (VARLAN/GUYTON)

                                 MEMORANDUM AND ORDER

         These related actions are before the Court pursuant to 28 U.S.C. § 636(b), the Rules of this

Court, and by the referral of the Honorable Thomas A. Varlan, United States District Judge, for

disposition of matters pertaining to discovery.




Case 3:09-cv-00006-TAV-HBG            Document 96 Filed 07/14/10             Page 1 of 4     PageID
                                           #: 2128
        As the Court has stated in its previous orders, all of the above cases originate from the ash

spill that took place at the Kingston Fossil Plant located in Roane County, Tennessee, on December

22, 2008. The first of these cases were filed in January 2009, and the latest-filed of the cases were

filed in April 2010. Throughout this litigation, the Court, counsel for the Plaintiffs, and the

Tennessee Valley Authority (“TVA”) have worked diligently to coordinate hearings, filings, and

discovery in these cases. Counsel have done an excellent job of bringing new cases up to speed on

discovery as they are filed. Nonetheless, as these cases move toward trial, issues and conflicts in

coordinating depositions and other discovery matters have arisen.

        TVA has now filed a Motion for an Order Coordinating Deposition Discovery of TVA

Employees.1 In its motion, TVA explains that many of its employees were deposed in 2009 as part

of discovery in the seven cases pending at that time. TVA moves the Court to prevent multiple

cumulative depositions, and the resulting waste of resources by ordering certain measures be taken.

TVA seeks an order:

               (1) coordinating all further deposition discovery of TVA employees
               in these cases,

               (2) designating the lowest-numbered case as the lead case for the
               filing of all documents related to deposition discovery of TVA
               employees,

               (3) providing that all future depositions of TVA employees shall be
               deemed to have been taken by all Plaintiffs in all cases, and

               (4) requiring the Plaintiffs to jointly designate a Plaintiffs’
               Coordination Counsel for coordination of deposition discovery of
               TVA employees.

 Mot. at 2.




        1
         E.g., Doc. 84 in Case No. 3:09-CV-06


Case 3:09-cv-00006-TAV-HBG            Document 96 Filed 07/14/10            Page 2 of 4      PageID
                                           #: 2129
        The Plaintiffs have filed various responses to TVA’s motion, which do not oppose TVA’s

 proposal in principle, but many of the responses suggest different coordination schemes.2

        After reviewing the pertinent filings, the Court finds that many of TVA’s and the Plaintiffs’

 requests for coordination would have the Court go beyond its role of resolving real conflicts in

 discovery, to instead micro manage discovery in this matter. Notwithstanding, the Court agrees that

 a degree of coordination in these matters is necessary to save the Court and the parties’ resources

 and is appropriate given the common locus of facts in these cases.

        Thus, the Court finds that the Motion for an Order Coordinating Discovery is well-taken, in

 part, and it is GRANTED IN PART and DENIED IN PART. The Court ORDERS that:

                (1)      The Plaintiffs shall coordinate all further deposition
                         discovery of TVA employees in the cases captioned above.

                (2)      The Plaintiffs shall form a Plaintiffs’ Coordination
                         Committee for coordination of deposition discovery. In
                         formulating this committee, counsel for the Plaintiffs should
                         consider which counsel have fulfilled this role thus far, but
                         they should also include at least one attorney from the later-
                         filed, individual cases.

                (3)      In addition, the Plaintiffs shall designate the lowest-
                         numbered cases of any given class of cases as the lead case
                         for filing of all documents related to common discovery
                         issues. The cases may be designated based upon cases
                         having common counsel, cases being similarly situated, or
                         any other logical grounds for coordination. Designation of
                         these cases will not preclude filings being made for unique
                         discovery issues in the individual cases in the future.


        2
          See Doc. 87 in Case No. 3:09-CV-06 (agreeing that TVA’s requests are reasonable with
reservations, including reservation that restrictions should not limit ability to “meaningfully” depose
persons); Doc. 175 in Case No. 3:09-CV-09 (consolidated cases) (agreeing in principle but suggesting
slightly different and more detailed coordination); Doc. 130 in Case No. 3:09-CV-48 (also filed in 3:09-
CV-54 and 3:09-CV-64) (agreeing in principle but suggesting slightly different and more detailed
coordination); and Doc. 30 in 3:09-CV-491, and other cases with Plaintiffs represented by Attorney
James Scott, (responding to issue of consolidation, but not opposing consolidation on issues of liability).
No response has been made in the cases with Plaintiffs represented by Attorneys James Agee, Jerrold
Becker, Andrew Tucker, and Rebecca Vernetti.



Case 3:09-cv-00006-TAV-HBG              Document 96 Filed 07/14/10                Page 3 of 4       PageID
                                             #: 2130
               (4)     The Plaintiffs shall file a list of the members of the Plaintiffs’
                       Coordination Committee and a list of the Designated
                       Discovery Cases on or before August 6, 2010.

In light of the above direction, all depositions taken after August 6, 2010, will be deemed to have

been taken by all the Plaintiffs in all of the cases captioned above.

       IT IS SO ORDERED.

                                                        ENTER:


                                                             s/ H. Bruce Guyton
                                                        United States Magistrate Judge




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Case 3:09-cv-00006-TAV-HBG            Document 96 Filed 07/14/10                Page 4 of 4   PageID
                                           #: 2131
